     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-1 Filed: 12/11/23 Page: 1 of 3 - Page ID#: 412

                                             COMMONWEALTH VS. CUNDIFF, JEFFREY BRUCE
                                             II
                                             KENTON CIRCUIT COURT
                                             Filed on 05/05/2022 as CIRCUIT CRIMINAL with HON. PATRICIA M. SUMME
                    22-CR-00454              Disposition on 10/03/2022 by HON. PATRICIA M. SUMME
                                             **** NOT AN OFFICIAL COURT RECORD ****


    Parties                                                                                                     22-CR-00454

      CUNDIFF, JEFFREY BRUCE II as DEFENDANT / RESPONDENT
       DOB: 10/07/1981 DLN: C04060040 OPERATOR'S LICENSE - KENTUCKY Race: W Sex: M Hispanic: N Eye Color: BE Hair Color: BN
       Height: 507 Weight: 130

       Bail Bonds
            CASH for $10,000.00 set on 05/24/2022
            CASH for $10,000.00 set on 03/31/2022
            HIP LEVEL 5;

       Address
            14 E 29 TH ST
            COVINGTON KY 41017


      ANDREWS, G as WITNESS
      SANDERS, ROBERT E as COMPLAINING WITNESS

       Address
            COMMONWEALTH'S ATTORNEY
            1840 SIMON KENTON WAY SUITE 2300
            COVINGTON KY 41011


      ARNZEN, EMILY as COMMONWEALTH'S ATTORNEY

       Address
            COMMONWEALTH ATTORNEY'S OFFICE
            1840 SIMON KENTON WAY, SUITE 2300
            COVINGTON KY 41011


      ISAACS, TATUM as ATTORNEY-PUBLIC ADVOCATE

       Address
            PUBLIC DEFENDERS OFFICE
            333 SCOTT STREET, SUITE 400
            COVINGTON KY 41011


      MEIER, CHRISTOPHER as ATTORNEY FOR DEFENDANT
      SANDERS, ROBERT E as COMMONWEALTH'S ATTORNEY

       Address
            COMMONWEALTH'S ATTORNEY
            1840 SIMON KENTON WAY SUITE 2300
            COVINGTON KY 41011



    Charges                                                                                                     22-CR-00454




                                                                                                     EXHIBIT 1
12/7/2023                                                    84997-7                                                          1
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      Strangulation 1st Degree - 508.170
        CHARGE 1 ORIGINAL 0132250
        Charged on 05/05/2022 by citation 2DZ931472-1

        GUILTY Disposition on 07/18/2022 by NO TRIAL
        Sentenced on 10/03/2022 cost amount of $140.00
        PRISON: 7 yrs 6 mos
        CONCURRENT - WITH CHARGE #2
        OTHER - COMMIT NO FURTHER CRIMES
        OTHER - NO CONTACT AND STAY 500 FEET AWAY FROM VICTIM
        OTHER - WAIVE COURT COST AND ATTNY FEES
        OTHER - ALL SEIZED ITEMS SHALL BE FORFEITED
        OTHER - SHALL BE DELIVERED TO CUSTODY OF CORRECTIONS CABIN

      Convicted Felon in Possession of a Handgun - 527.040
        CHARGE 2 ORIGINAL 0521970
        Charged on 05/05/2022 by citation 2DZ931472-3

        GUILTY Disposition on 07/18/2022 by NO TRIAL
        Sentenced on 10/03/2022
        PRISON: 7 yrs 6 mos
        CONCURRENT - WITH CHARGE #1
        OTHER - COMMIT NO FURTHER CRIMES
        OTHER - NO CONTACT AND STAY 500 FEET AWAY FROM VICTIM
        OTHER - WAIVE COURT COST AND ATTNY FEES
        OTHER - ALL SEIZED ITEMS SHALL BE FORFEITED
        OTHER - CTS
        OTHER - SHALL BE DELIVERED TO CUSTODY OF CORRECTIONAL CABI

      SHOCK PROBATION IN FELONY CONVICTIONS - 439.265
        CHARGE 3 ORIGINAL 0026090
        Charged on 03/16/2023 by citation NA

        DENIED Disposition on 03/23/2023 by NO TRIAL

    Documents                                                                    22-CR-00454

      DISTRICT COURT FILE filed on 05/05/2022

      INDICTMENT filed on 05/05/2022

      ENTRY OF APPEARANCE filed on 05/09/2022

      RESPONSE TO MOTION FOR BILL OF PARTICULARS/DISCOVERY filed on 05/16/2022

      RETURN OF SUBPOENA filed on 05/20/2022

      ORDER SETTING BOND entered on 05/24/2022
        $10000 CASHBOX - CA, P & P, P/ T, KCDC, PD

      ORDER OF ARRAIGNMENT - NOT GUILTY PLEA entered on 05/24/2022
        8/3/22 @ 9AM; REC DATE 7/5/22B OX - CA, P & P, P/T, KCDC, PD

      ORDER FOR RECIPROCAL DISCOVERY entered on 05/24/2022
        BOX - CA, P & P, P/T, KCDC, PD

      ORDER OF INDIGENCY entered on 05/24/2022
        W/AFF ATTACHED

      ORDER SETTING SENTENCING entered on 07/18/2022
        PSI AND KASPER REPORT ORDEREDP &P, HON. CHRISTOPHER MEIER

      COMMONWEALTH OFFER ON A PLEA OF GUILTY filed on 07/18/2022

      JUDGMENT / SENTENCE - PLEA OF GUILTY entered on 10/03/2022
        BOX CA/ APA/ KCDC/ KCSO/ P&P/PRETRIALFCM WARDEN, RCC

      EXHIBIT filed on 03/16/2023

      RESPONSE filed on 03/17/2023

      ORDER - OTHER entered on 03/23/2023
        SHOCK PROBATION DENIEDBOX - CA , PD




12/7/2023                                                       84997-7                        2
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    Events                                                                                                     22-CR-00454

      MOTION NOT REQUIRING HEARING scheduled for 03/17/2023 12:00 AM in room ****** with HON. PATRICIA M. SUMME

            Motions
             • MOTION FOR PROBATION filed on 03/16/2023 by AD


      SENTENCING scheduled for 09/27/2022 01:30 PM in room 6A with HON. PATRICIA M. SUMME
         RESCHED FROM 08/16/22

      PRETRIAL CONFERENCE scheduled for 07/11/2022 01:00 PM in room 6A with HON. PATRICIA M. SUMME
         CONTD FROM 7-5-22REC DATE

            Motions
             • MOTION TO ENTER GUILTY PLEA filed on 07/18/2022 by APA


      PRETRIAL CONFERENCE scheduled for 07/05/2022 01:00 PM in room 6A with HON. PATRICIA M. SUMME
         REC DATE

      ARRAIGNMENT scheduled for 05/09/2022 09:00 AM in room 6A with HON. PATRICIA M. SUMME

            Motions
             • MOTION FOR DISCOVERY AND INSPECTION filed on 05/09/2022 by APA



    Case Cross Reference                                                                                       22-CR-00454

      GRAND JURY cross reference on 05/05/2022 to CIRCUIT 22-F-00519


    Images                                                                                                     22-CR-00454

       INDICTMENT filed on 05/05/2022    Page(s): 1

       ENTRY OF APPEARANCE filed on 05/09/2022         Page(s): 1

       MOTION FOR DISCOVERY AND INSPECTION filed on 05/09/2022                   Page(s): 6

       RESPONSE TO MOTION FOR BILL OF PARTICULARS/DISCOVERY filed on 05/16/2022                   Page(s): 2

       RETURN OF SUBPOENA filed on 05/20/2022         Page(s): 1

       ORDER OF ARRAIGNMENT - NOT GUILTY PLEA filed on 05/24/2022                   Page(s): 2

       ORDER OF INDIGENCY filed on 05/24/2022         Page(s): 2

       ORDER FOR RECIPROCAL DISCOVERY filed on 05/24/2022               Page(s): 3

       ORDER SETTING BOND filed on 05/24/2022         Page(s): 1

       MOTION TO ENTER GUILTY PLEA filed on 07/18/2022             Page(s): 2

       COMMONWEALTH OFFER ON A PLEA OF GUILTY filed on 07/18/2022                    Page(s): 1

       ORDER SETTING SENTENCING filed on 07/18/2022           Page(s): 1

       JUDGMENT / SENTENCE - PLEA OF GUILTY filed on 10/03/2022                 Page(s): 4

       EXHIBIT filed on 03/16/2023   Page(s): 2

       MOTION FOR PROBATION filed on 03/16/2023           Page(s): 2

       RESPONSE filed on 03/17/2023    Page(s): 1

       ORDER - OTHER filed on 03/23/2023     Page(s): 1


                                              **** End of Case Number : 22-CR-00454 ****




12/7/2023                                                              84997-7                                               3
